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                                    CONFIDENTIAL

            UNIVERSITY-WIDE COMMITTEE ON SEXUAL MISCONDUCT

                   FACT FINDER'S REPORT IN THE COMPLAINT
                 BROUGHT BY JASON KILLHEFFER ON BEHALF OF
                                  I AGAINST JACK MONTAGUE

                                   January 15, 2016




This complaint was bro\1ght by Senior Deputy Title TX Coordinator Jason Killheffer
against Jack Montague (TR '16). The. complaint concerns a single episode of sexual
intercourse between Mr. Montague and                           · -- that took place on
the night of October 18-19, 201.4.               .;tales she consented to other sexual
activity but did not consent to intercourse. According to Mr. Montague, Ms.
   -       voluntarily consented throughout the encounter.

The current formal complaint was filed November 18,2015 (Exhibit A). Mr.
Montague was charged on November 30 (Exhibit B) and responded on December 9,
2015 (Exhibit C). The case was assigned to me for investigation on November 23,
2015. UWC Chair David Pest granted an extension to the usual21-day time limit for
investigation due to the Yale College Thanksgiving and winter breaks, when the
parties and witnesses were unavailable for interviews, and due to Mr. Montague's
additional absence from campus for games with the varsity basketball team.

In conducting this investigation, I interviewed            . on November 30,
December 2 and DecemberI
                            17, 2015 in the presence of Amy Myers, Sexual Assault
Counselor at the SHARE Center. I had an additional t elephone conversation with her
on January 13, 2016. I interviewed Mr. Montague on December 16, 2015 and
December 29,2015, in the presence of his adviser, Coach James Jones.

l conducted additional interviews with the following witnesses:
Angela Gleason, Title IX Coordinator


                                                    n


                           friend of Mr. Montague

I also reviewed the following documents:
Summary of events on October 18-19, 2014, written on October 22,2014 by Ms.
           ~2xhibit   D)
Text messages between·                   and Mr. Montague (Exhibit E)
Text messages between                                  (Exhibit F)


                                                             ~ PLAINTIFPS                 1
                                                            ij EXHIBIT NO.           l3
                                                            Iii FOR IDENTIFICATION
                                                            I   DATE:   1d..-- (R~~~ b
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Text message from ,               . to                            ~      , (Exhibit G)
Yale security card activity record for                 October 19, 2014 (Exhibit H)




The following facts are not in dispute: Mr. Montague and                 . met at a .
party in early September 2014. At that tin1e they e11gaged in cansenstlal sexual
activity, not including jntercourse. They communieated with each other after that
via Facebook and text message, On September 24-, Mr. Montague and
encountered each other again at an event at Toad's Place. They left together and
went to Mr. Montague's house at 43 Howe Street where they had sexual intercourse
for the first time.l On October 18,                went to another party at Mr.
Montague's house. She and Mr. Montague engaged in consensual sexual contact not
including inlercourse outside the house and in Mr. Montague's car. They then went
inside to Mr. Montague's bedroom, where they continued sexual contact, including
intercourse.                 stayed the night with Mr. -Montague and went home in
the morning. A few days later                 . contacted Mr. Montague and asked to
meet for a discussion. The parties met on October 28, 2014. At that time Ms.
            ;old Mr. Montague that she had not wanted to have intercourse on

He stated that be was sorry she felt that way and agreed not to pursue her in the
future. The parties have not communicated with each other since that time.


Cq mpl ajnan t's Vt!rsioo nl: Events

According to                  she first met Mr. Montague at a party early in September
2014. He was a member of the basketball team and
                    d. They had some mutual friends and attended some of the same
parties. fle lived in an off-campus house at 43 Howe Street with other members of
the baskeLball team. Mr. Montague's house oftell hosted parti es, includtng the one
where                  met Mr. Montague. The house was known as "tile basketball
house."

The night the parties first met, they talked and flirted and then began kissing. Mr.
Montague invited                  to his room, where they continued kissing and
sexual touching but did not have sexual intercourse.                  . stayed the night,
slept with Mr. Montagu ~and went home to                        in the morning. All
sexual contact that nighl was consensual.                   enjoyed Mr. Montague's
company and felt comfortable vvith him.                  . and Mr. Montag ue traded

1 Botl1 parties agree that              consented verbally to this activity, however
she states that she was highly intoxicated at the time and did not want to have
sexual intercourse but went along because she was not thinking clearly. Mr.
Montague is not charged with any wrongdoing in connection with the incident on
September 24.



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phone numbers m~d friended each other on Facebook. After their first encounter
they had friendly communication over text and Face book. According to Ms.
         ',she met Mr. Montague a second time a week or two after the first
meeting. This encounter was similar to the first. The parties went to Mr.
Montague's room and had consensual sexual contact, not including intercourse. Ms,
          slept over at Mr. Montague's house. She felt comfortable and enjoyed the
encounter. She reported that on both of these occasions, Mr. Montague asked if she
wanted to "have sex" (meaning intercourse) and she said "no." He respected her
decision and did not push her .

             . reporteu a third sexual encounter with Mr. Montague on September
24, 20:L4. Her sorority was hosting a charity event at Toad's Place.
drank a lot more alcohol at this f~vent than she usually drinks and she became highly
intoxicated. She could not remember precisely what she drank, but she told me she
drank two or three shots with her friend               starting at about 9:30pm,
be{ore they went to Toad's, She then had approximately five more drinks at Toad's.

At Toad's,                 saw Mr. Montague. She spent some time with him there and
left Toad's with him 3nd son'le other people at approximately 12:30 am. They went
to another bar that she cannot remember. She had one more drink there and then
went home with Mr. Montague.                     has blurry memories of that night.
She remembers walking with Mr. Montague but does not remember their
conversation that night. She stated that she did not need help walking or climbing
the stairs in his house. She does not have specific memories of slurring her speech
or other impaired motor skills, but she believes she must have been visibly
intoxicated because friends have told her she was visibly drunk at other times when
she drank a lot less than she drank that night. M               1 stated that she went
willingly to Mr. Montague's house, intending to have sexual contact with him, but
not intending to have sexual intercourse. She felt comfortable going with him
because on tl1e previous occasions when he asked if she wanted sex and she said
"no," he respected her decision and did not lry to force or coerce her. This time,
after both pt=~rties were undressed and in bed l<issing, Mr. Montague asked Ms .
             if she wanted to have sex and she said "yes," though in hindsight she does
not believe she W<JS capo.ble of making a considered decision. Immediately after she
said "yes," he penetrated her, without asking about whether she was using
contraception and without using a condom. 2                      does not remember the
experience of sexual intercourse after penetration; the next thing she remembers is
waking up in Mr. Montague's bed the next morning. She asked him, "We had sex 1
 right?" and he confirmed that they did. When she went home in the morning she
still felt drunk She was physically ill and also felt terrible that she had agreed to
sexual intercourse. She blamed herself for agreeing and for drinking so much that
she was unable to exercise her usual judgment. 3


z According to,              . she was upset that Mr. Montague did not use a condom
and she later went to the Yale Health Center for a pregnancy test even though she
was taking an oral contraceptive. The test was negative.
3               lid not report this incident to the Title IX Coordinator and she does
not claim this was a violation ofYaJepolicies on sexual consent. When I asked about


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                                               I   '




The next time                 t saw Mr. Montague was the night of October 18. That
night                 went with some friends to a birthday party at Sig Nu fraternity.
She left for the party with her friend                 at about 9:15pm and stayed until
about 11:00 or 11:15 pm. While at the party, she played beer pong and had about
two drinks of alcoholic beverages. After leaving the party,·                      walked
back to                     to meet her suitemate                              . had friends
from home visiting for the weekend and they were hanging out in the common
room.                  had two more drinks with                  and her friends. They all
then left for a party at the basketball house, where Mr. Montague lived. When they
arrived at the basketball house,                  . talked and socf::~lized with friends.
She did not drink any more alcoholic beverages. She encountered Mr. Montague
leaning against a stone wall outside the house and he called out to her in a friendly
way. He put his hands around her waist and made a flirty joke about how he knew
she had brokeri ribs from a                 ; accident and might only be able to have sex
in the missionary position. He invited her outside in the back of the house where
there was a parking lot for the residents' cars, and she went willingly.
and Mr. Montague leaned against his car and kissed. She stopped and told him that
she knew they had sex last time when she was really drunk and that was OK, but she
did not wan l to <io that again this night. She asked if it was OK with him to "hook


It got cold outside and Mr. Montague asked if'                 wanted to get inside his
car. She agreed. While she was waiting for Mr. Montague to get his car keys, Ms.
           got a text message from her friend            l asking where she was and
telling her that            and her friends were re<1dy to leave this party and go to
another party at Zeta Psi fraternity.                replied that she was with Mr.
Montague, she was fine and she intended to stay at the basketball house. Ms.
           reported to me that she felt comfortable with Mr. Montague and felt in
control of the situr1tion because she had been careful notto drink too much and
because she had been so verbally clear and direct with him about not wanting to
have intercourse. Mr. Montague returned with his keys and he and
continued to talk and kiss inside the car. At one point Mr. Montague commented,
"Are we really doing this?"               ; asked, "Doing what?" and Mr. Montague
replied, "Fucking in my car."                 then reminded him that she did not want
to "have sex" but only to "hook up" and Mr. Montague again said that was OK.

The party wound down and more people came into the back yard. Mr. Montague
asked if"              would like to come inside and she agreed. They went in the
back door and up a flight of stairs to Mr. Montague's room. She knew the way and



other witnesses who might have observed her level of impairment due to alcohol,
she told me that she hC~d askP.o friends about it but none of her friends remembered
anything about that particular night. The one witness I interviewed who was
present that night,             , did not remember anything about Ms.
level of intoxication. The incident is reported here in order to describe the context
of the parties' previous interactions when they met on October 18.


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went ahead of him. They both took off all of their clothes+ and got into Mr.
Montague's bed where they resumed kissing and touching. When they first got
undressed there was no further verbal discussion of the boundaries of their sexual
consent. Mr. Montflgue kissed                      and touched her body, including her
genitals, to which                  :1ad no objection. She stated to me that she
indicated her consent by kissing him, touching his body (not his genitals) and by not
tensing up. Then Mr. Montague got on top of her, lifted his chest and leaned his
pelvis into her as if he was preparing to penetrate her. - -               put her hands
up, pressed them against the front of Mr. Montague's shoulders and pushed him, but
not very forcefully .. She said, "Jack, no, I said I wanted to hook up but not have sex."
He looked very drunk, as if he did not hear what she was saying. He then penetrated
her over her objection.                  . stated that she was surprised and frozen. She
did not move and d~d not attempt to push Mr. Montague off of her. She did not think
she could push him off if she tried because he was bigger and heavier than she was.
She just waited for him to stop. When he was done he got up and said, "I'm really
sorry. I know you didn't want that." She lay still in the bed feeling defeated and
confused.

Mr. Montague dressed and went downstairs, where some of his friends and
housemates were gathered:5 He came back to the bedroom and told
he was going to Zeta Psi with his friends and she should stay in his bedroom and
wait for him to come back He gave her his laptop, which she took to be an offer of
entertainment while she was waiting. She did not know what to do and had
difficulty thlnking. She thought she might leave and go home after he was gone to
the party at Zeta. Then she heard people downstairs calling her name and telling
her to come down. She felt frozen and passive and did what they said without
making a reill decision. Friends of Mr. Montague were complimenting her, saying
she was beautiful and the hottest girl on campus. This confused her and made her
wonder if Mr. Montague had askect them to be especially nice to her to placate her
because she was upset with him. According to                    , Mr. Montague was
planning to go to the party at Zeta Psi with some friends but he did not want her to
go with him. Instead he asked a male friend of his, whom                  . did not
know, to take ller with him to Toad's Place. Mr. Montague said he would meet up
with                 later back CJt his house. She said nothing but went along
passively because she couldn't think



                did not remember precisely how they undressed but she believed
that both she and Mr. Montague took off most of their own clothes and he unhooked
her bra.
"rn                 written account (Exhibit D) she states that Mr. Montague's
friends were "at the door" before Mr. Montague got dress~d and left her in his
bedroom. When she first spoke to me she described them as gathered downstairs.
She later explained that it was only a short distance from the downstairs hall to Mr.
Montague's room, and his friends sounded very close when she first heard them, so
she assumed they were upstairs, just outside the bedroom door. After Mr. Montague
left the room,               heard bisTriends calling her name, and when she got
dressed and left the room, they were downstairs.


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              \went with Mr. Montague's friend to Toad's Place but she did not want
to be there and didn't stay. She walked in and out and of Toad's without speaking to
Mr. Montague's friend and walked home alone to                        When she got
inside the :         courtyard she became confused and overwhelmed. It was after
1:00am. She wanted to go to bed and sleep 'and not talk with anyone, but she
realized that there would be lots of people in her suite and it would be impossible to
go to bed witltuut seeing anyone or being asked a lot of questions.           . had
friends vislting and they were sleeping ln the common room.         - ·- , ·      3aid that
she lived in a suite with seven other people and there was alwrJys activity there and
in the other large suites in the entry. She was overwhelmed at the prospect of
having to talk or answer questions and she decided she couldn't go inside her suite.
She didn't know what to do and coulun't think clearly. She decided to return to Mr.
Montague's house since he was planning to have her return <md would not question
her about why she was there or what had happened earlier in the night. She
thought he would let her go to sleep quietly. She called him by phone and asked
where he was. She told him she was in                    College and would meet him. He
told her to meet him on Park Street near Davenport College and she did (Exhibits E,
H).6 They walked together back to his house. -                       does not remember the
details of their conversation on the way back but she described it as normal and
flirty. She told Mr. Montague she just wanted to go to sleep and he made a joke
:?_OC}Ut b~ing t.:).J drm~k tc- b-~ able to h2ve sex \AThen                rPtnrn~rl tn Mr.
Montague's bedroom she did not take off her clothes again and got in bed. Mr.
Montague got on top of her again but she pushed him and said, "No. I don't sleep
around." Mr. Montague said, "It's not sleeping around. This will be the third time."
She said "No" again, said she just wanted to go to sleep and rolled away from Mr.
Montague to the other side of the queen size bed. He did not object and they both
went to sleep. ln the morning,                       woke up and asked Mr. Montague to let
her out of the house, which required a key. They had no conversation about what
had happened that night and                 -     . gave no indication that she was upset.

             :walked home to          - College as quickly as she could. She was
upset and embarrassed that iL was morning and she was dressed up in a skirt as if
she were going to a party. She thought she would not talk to anyone and would
push what had happened with Mr. Montague out of her mino until after fall break
when she and hr.r friends would be done with their exams. She got home at
r.tpproximately 1 0:00am on October 19. 7 There was no one in the common room
;md she sat down.                 :mitemate                     came in and asked
              ·"How was your night?" -              told her it was terrible. She
reported what had happened and started to cry. A second suitem3te
also came out of her bedroom and she also Hstened to                 ; account of


6 Exhibit H documents that             n swiped hr.r JD card at the-         ·College
gate at 1:34-am on October 19, 2014, did not swipe into any dormitory entry and
then swiped her card at the Davenport College gate at 1:40am. Exhibit E shows a
text message from Mr. Montague to               :at 1:30am stating that he was at
Davenport College.
7 Exhibit H docurnents that              entered the            College gate at 9:57
am and entered r            at 9:58am on October 19,2014.


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what happened. ;                              ·comforted                 ·,made some
tea and told               to take a shower.                  had been planning to go
to New York that afternoon to see a ballet with several friends: .                 ;,
                   and another suitemate,                    · She went with her
friends as planned and hoped to get away from her thoughts about Mr. Montague.
She cried for much of the ride on the train but got a lot of support from her friends.

Friends of                 suggested that she talk with someone about what Mr.
Montague had done to her but she did not want to make a complaint at that time.
She did call the SHARE Center on October 21 or 22 and spoke with Jennifer Czincz,
Ph.D., about her options.               1 decided that she wanted to talk with Mr.

Montague herself, to make sure l1e understood that what he had done was wrong
and so that he would not do it again to anyone else. She discussed with Dr. Czincz
how she might effectively communicate with him. She also talked with
        a Divinity student who was a friend from the                          advised
                to write down what had happened so that she would have it if she
later decidecl that she did want to pursue an official complaint.             n did
make such a record on October 22; this undated document is attached as Exhibit D.

On Sunday, October 26, 2014, the last day of fall break,              textcd .Mr.
Montague asking him to meet with her (Exhibit E). She was irritated that he was not
immediately responsive and seemed to be putting her off (Exhibit E) but he did
agree to meet on October 28. They sat at a picnic table outside Davenport College
and spoke briefly.                spoke and asl<ed Mr. Montague to listen. She told
him she had made it clear to him that she didn't want to have sex with him and she
had not been feeling good about what happened on October 18. He said he was
sorry that she felt that way. He said that he had been very drunk that night. .She
thought he was very careful with his words, trying to be nice but not to take
responsibility for any misconduct. He stated that he thought she was a really nice
person and "down to earth." He hoped they would be able to remain friends but he
could understand if she didn't want to see him anymore. He offered that if he ran
into her at a party or elsewhere he would leave so that she would not be
uncomfortable.               m felt that she had been able to communicate how she
felt about the encounter on October 18 and she felt good about that even though Mr.
Montague did not admit Wrongdoing.

During the fall semester 2014,                 had some intrusive thoughts and
nightmares about Mr. Montague. She made a difficult decision not to
 ·  ·    · ·            because she could not imagine
Mr. Montague                         She
         · the reason for her decision; instead she blamed her choice
on                                (Exhibits F, G). Later in the fall of 2014, Ms.


8  I did not interview          ~because she was not with                 \the night
of October 18 and her testimony was likely to be repetitive of the other suitemates'
reports.
'l l attempted to contact        r by email to arrange an interview with her, but I
did not hear back from her prior to submitting this report.


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          , began dating a man who was very nice to her and helped her to put Mr.
Montague out of her mind. She did not see Mr. Montague except occasionally in
passing. She was mostly happy until the end of the spr-ing semester when she saw
Mr. Montague talk Lng with a male friend of hers at Sprb1g rling. This surprised h er
and reawakened strong negative memories and feelings: She found iL extreme ly
upsetting that someone she liked and respected would be friendly with Mr.
Montague, probably not knowing that he was someone who would force himself on
a woman over her objection.

              was surprised to find that she continued to have strong memories and
upsetting feelings about Mr. Montague when she returned to camp us in the fall of
2015. She saw him around campus and New H~lven mo.re thm1 she had in the spring,
though he did not try to communicate with her or threaten h er. She had expected to
put the incident of the prev.ious fall behind her but it was becoming harder rather
than easier to avoid thinking about it.                . talked wilb some of her friends,
who again advised her to consider maki 1 g a complc-lint or tl'llking with a counselor.
               1 snitcmate              happened to be speaking with Title IX
Coordinator Angela Gleason about a completely unrelated matter and while she was
there she mentioned a friend \·vho hr~d had a bad experience, provided an outline of
what had happened between                     and Mr. Montague and asked how she

merely requested information about her friend's options. Ms. Gleason talked about
the various formal and informal procedures available to deal with sexual
misconduct and encouraged·                  t to reach out to her friend.
explained to                 :1 what she had learn ed fTom Ms. Gleason , including the
option of making an anonymous informal comp laint. Thi.s would allow Ms.
           to tell her story to th e Title IX CoordinC~tor but request that her name be
kept confidentlal. The Title IX Coordinator would the11 ca ll Mr. Montague in for a
conversation about the facL thal a complaint had been made against him and would
suggest that he participate in extra training about communication cmd sex'Ual
consent.               liked this idea because it might fulfill her goal of making sure
Mr. Montague understood that his behavjorwas \·'\lrong and hurtful and stop J1in'l.
from doing it again to someone else. She did not Wfll'll to pursue a formal complaint
because sbe did M'L wanL to engage in the Jengthy and diffjcu lt process of tell ing the
story repeatedly fl.nd being questioned in detail by strangers on the UWC. She stated
to me t:hat she was not interested in having Mr. Montague punished but in having
him learn so that he would not hurt anyone else.

Based on what she had learned from                             1 decided to talk with
Ms. Gleason about Mr. Montague. She met with Ms. Gleason on October 19,2015,
On November 6, she heard back from Ms. Gleason th<Jt she would not be able to keep
                name confidentiaL Ms. Gleason explained lo                    that Mr.
Montague bad a lready been given a recommendation for training after a previous
co mplaint and so th at option was no longer open to him . Ms . Gleason expressed
comcrn th<1t the inciden~                had reported to her was serious. She told
              that she did not have to file a complaint herself and a Title !X
Coordinator cou.ld do lt. In the event that               elected not to bring 8
complaint, Ms. Gleason asked her to cooperate with the process as a witness. Ms.



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          . was surprised and somewhat disappointed that she had been thrust into a
process sl1e had not sought out, but she agreed to cooperate with this investigation
for the same reason she went to Ms. Gleason in the first place. She stated that she
wants Mr. Montague to understand what he did was wrong and not repeat it. She
was especiall y mo ti vated to participate in the investigation and hea ring process
after she heard that Mr. Montague had already had .another complaint against him,
as she felt it was important to protect other women.


l~es.pond · nt'~   Version   or Events..;.
Mr. Montague's report of his first interactions with                 1 matches her
account. He stated to me that he met                   at a parly at his house early in
September 2014·. He was immediately attracted to her. The two parties spent the
nig ht together ant.l had c nsensua l sexual contact, including kissing and to uching
but nC)t intercourse. Early in the mornJ.ngJ                 asked if she could g-ive Mr.
MontLigue or<ll sex and he agreed . Mr. Montague enjoyed.                   J company
<llld wanted to seE: r1er again. They traded phone numbers and texted each other
before meeting Gguin.

Mr. Montague reported a second sexual cncountel' with ·                   a few weeks
later. 10 They met at a club or bar aml walked back to Mr. Montague's house ann in
arm, along with somP. of his teammates. Ac.:.corclwg to Mr. Monlague, this second
sexual encounter was similar to the first in that ·             . came willingly to his
room and thr.y engaged in consensual kiss ing-and other sexual contact. This lime
U1 ey did l1avc vaginal i11tercourse. Mr. Montague remembered few details ab out this
encounter and stated that he did not recall whether he or                  . had been
drinking a lot tl1at night. He did not immediately remember that this incident took
place after an event at Toad' s Place but he acce1 ted                 report of that
context. He did not recall                 being impaired by alcoho l in any way. She
seemed to him to be having a good time and laughed as she walke~J home with him.
She cUd not need help walking and participated actively in sexual activity with him.
13y Mr. Montague's account, there was no express verbal discussion of the
boundaries of sexual consent until, just prior to interco urse, Mr. Montague asked Ms.
            if she wanted to "have sex" and she said "yes." According to Mr. Montague,
be had no reason to doubt that                  was capable of sexual consent and he
believed that her consent that night was voluntary.

Mr. Montague stated that his third sexual encounter with                  1 occlJrred on
October 18, 201'1·, after another party at his house. His description of this incident
differs significantly from hers. According to Mr. Montague, he traded text messages


1oMr. MontCJguc's description of what he re1nembe.rs as his second sexual encounter
with                 • closely matches her description of w h at she says was their third
encounter. Mr. Montague does not remembel" getting together with
between the timP. he first met her at his house and the time they left Toad's together.
He states that it is possible that there was another encounter before their meeting at
Toad's but he docs not remember it.


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with               l prior to this party and he knew she was planning to be present.ll
He wanted to be able to have a good time with her and so he was careful not to drink
too much before she arrived. He believes he drank between four and seven drinks
of alcohol over a period of several hours. He was happy to see                   at the
party and they talked and socialized together. They went outside in the backyard of
his house and kissed, first leaning against his truck and then inside the tru_ck. After a
while, he invited her inside and they went to his bedroom. They both got
completely undresscd12 and got into his bed. They resumed kissing and touching
and then he asked if she wanted to have sex. She said, "OK" and they did have
intercourse. There was nothing about this encounter that made Mr. Montague think
              :had any hesitation or discomfort with having intercourse with him.
He remembered cl1anging positions during the course of sex from the missionary
position to "doggy style" and                 did not object,13 He denied that she ever
told him that she wanted to."hook up but not have sex." 14 He denied making a
comment about "fucklng ln [his] car." He denied that                 1 told him to stop,
put her hands up to his shoulders and pushed him. He also denied stating to her
after intercourse that he was sorry because he knew she didn't want that.

When he described this encounter to me, Mr. Mont<tguc stated that
spent the night with him as she had the previous two times that they had been
t::;-£ther. He did r::::t report th2t the~ 7 got dressed,l-::ft th~ house, 1.~.1ent to other
pa,rties and met Llp again outside Davenport College as rcpor~ed by
When I asked him about these details of                          ; acco1.1nt, he seemed
somewhat surprised but did not deny that this had occurred. When l in terviewed
Mr. Montague a second time he stated tl1at he had tried hard to remember whether
he and                    had left the house and returned but he still did not have any
memory of those events.

Mr. Montague stated that he believed his interaction with                 , on October
18, 2014 had gone well until he receivetl a text from he1·· on October 26 in which she
asked to meet with him to discuss what hacl happened (Exhibit E). The tone of Lhe
message indicated to him that she was not happy and that she wanted to tell hlm
something bad. He was worried about what she would say. The first things that
came to his mind were that she was pregnant or that she had a sexually transmitted
disease. I-Ie could not meet with her right away because of his basketball practice
schedule but he agreed to meet a few d:ws later. They met at a picnic table outside
Davenport College just before he was going to a concert at Toad's with some friends.


u Mr. Montague could not provide copies of these messages because he has changed
phones and has lost access to text messages from that time. He was not able to
obtain the messages from his cell phone carrier.
12 Mr. Montague's memory was not clear as to how they got undressed. He believed
they each took off their own clothes but he may have unhooked                    ; bra.
This is consistent with                  account.
13               did not remember changing positions during intercourse.
1.4 Mr. Montague specifically denied her claims that she made this statement at least
three times: just after beginning to kiss him, a second time while in the truck and a
third time when he got on top of her in bed.


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              told him that she had not wanted to have sex on the night of October
18 and she was not happy about what had happened . According to Mr. Montague,
he interpreted what                said as stating that she was disappointed in what
happened and regretted having sex. He denied that she told him that she had
objected clearly and he had proceeded over her objection. He did not believe he had
done anything wrong and he did not understand ·              ____ to be accusing him of
misconduct. He told I\           m that he was sorry that she was feeling upset
about the encounter. He said that he would "be there for her" if she wanted to talk
more about this or anything else in the future .              1 responded
immediately that she did not want to have anything more to do with him and he said
he would leave her alone. He denied                  . report that he had volunteered
that he would leave any venue where she was in order to make sure she was not
uncomfortable a round him. Despite the discomfort of the conversation Mr.
Montague and                 parted amicably and hugged at the end of this
conversation. 15

Mr. Montague stated that he and                   never spoke with each other ag"'in.
Occasionally he would see her around campus but she would ignore him. He was
surprised that on one occasion during the spring semester of2015 he was invited to
a par ty at               ; sorority but he was then asked not to attend because
someone in the sorority did not want him there. He believed            -     had
"black-balled" him .1 6 He knew he had said he would stay away from her after their
last meeting on October 28, 2014, but he was surprised that she felt so strongly
about not having him around that she would ask another member of her sorority to
dis-invite him.

Mr. MontCJgue was also surprised and confused this fall when he was at a party
hosted by the Owrs Throne, a junior society that he belonged to, and a girl he did
nat know approached him and told him he had to leave the party right away. This
girl explained that he could not be at the party because                 was there and
he was supposed to stay away from                   because he had "raped" her. Mr.
Montague was shocked to he ar the allegation that he had "raped"
when she had never made such an accusation herself and he continued to believe
that he had done nothing wrong. He was also confused by the demand that he leave
the party immediately to get away from                    From Mr. Montague's
perspective, he had never agreed th at it was his responsibility to get away from
anyplace where                 1 was pres enl and he had n ot even seen
CJt this parly before he was accosted by her friend. Shortly after this last interaction,
Mr. Montague received the UWC complain t in the curren t case. Again, he was
surprised and dlsLressed. He discussed the matter with his former housemate and
basketball cr1ptain,                 who offered him support.




15  Ms.        1 acknowledged hugging Mr. Montague at the end of the conversation
 on October 28. She explained that she wanted tq be firm and clear with Mr.
 Montague but she did not want to be hostile or provoke a bostile response from him.
 16             1 agrees that this occurred.



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Mr. Montague explained to me that the allegation in this case is extremely
distressing and anxiety provoking for him. He stated that he liked                . and
never intended to hurt her. He emphasized that he considers himself a gentleman
who would never force himself on a woman. Mr. Montague also emphasized the
confusing nature of                   behavior after sexual intercourse on October 18
as evidence that her story is incredible. He argues that she did not look upset
afterwards or tell him that he had done anything wrong. Although he does not
remember her leaving his house late at night and then returning, he argues that if he
had really committed a sexual assault against her, it makes no sense for Ms.
           to return voluntarily to his bed. He suggests that              , may have
felt regretful about having intercourse with him and then reinterpreted their
encounter as nonconsensual.




                     is a friend of                     They were freshman roommates and
suitemates last year. She does not know Mr. Montague.                           reported that on
the night of October 18,2014 sl1e was not with                                            went
out with thei·r su itemate                                   . not see                . until the
following morning.                  ;;ct t:p 2J.rly c::. Sur:dJy Octobc:r 1. 9 snd v-:ent for 2.
run. When she returned to the suite she found                          on the common room
sofa crying.                hugged                   t but               . continued sobbing
and could not talk for about ten minutes. Eventually-·                         told r
that she had had a terrible night with Mr. Montague. · -                       had previously
told~             about another encounter with Mr. Montague. On that occasion Ms.
           had been very drunk and had said yes to sex with Mr. Montague even
though she didn't really want to. After that she was upset and very angry with
herself.                 . now told          ··    that on the night of October 18, Ms.
          ·.told Mr. Montague that she did not want what had happened before to
happen again. She told him they could hang out but not have intercourse. He
pushed her to agree to sex. She said "no" but he proceeded anyway. Later, he said
he knew she didn't want. that and he apologized.                        . stayed the night with
him becat1sc shf: W8s in shor.k and panicked.

           -reported that there was a striking difference in                3 demeanor
between the day after her first sexual intercourse with Mr. Montague and the
morning of October 19. On the earlier occasion,                 felt unhappy and
angry with herself. She felt responsible for what happened because she was so
drunk She was upset but was not crying or falling <Jpart. In contrast, on October 19,
              , was sobbing uncontrollably as she told the story of what happened.
That afternoon,                went witb             ·and several other su'i temates to
New York to see a ballet, but              . was upset and cried on and off the whole
day.

                is a friend of               They lived in the same suite last year and
 now Hve in the same entry in                 _               J does riot know Mr.
 Montague.              ·- stated that she was not with              . on the night ~f



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October 18, 2014.                vVoke up the next morning at approximately 9:00
am. When she went out into the common room she found                      crying.
                  , another suitemate, was attempting to comfort
          told                             . that she had been at the basketball
house the previous night. She ran into Mr. Montague and went to his room with
him.                was not drunk She and Mr. Montague were "hooking up" and
Mr. Montague wanted to "have sex."                   said "no." She pushed on his
chest but he was too heavy for her to push off. He went ahead and had intercourse
with                even after she said "no." Mterwards,                stayed at Mr.
Montague's house overnight because it was very late and she did not want to walk
home alone.

     _ _ _ is a friend and suitemate of             .     . They have been suitemates
for two years.             knows who Mr. Montague is but does not consider him a
friend.            reported that on the weekend of October 18, 2014 she was out of
town for a field hockey game. When she returned to campus on Sunday, October 19,
                was away in New York at the ballet. The ne.x t day,                 told
          about her encounter with Mr. Montague on October 18. According to Ms.
              -        told her that she went to a party at the basketball house on
Saturday night October 18. She saw Mr. Montague. and told him that she knew they
h<Jd sex last time they were together but she did not want to do that again. She
wanted to hook up but not have sex. He said that would be OK but then he ignored
her.                1 told)          that she and Mr. Montague were hooking up in his
room. He was on top of her. He was very drunk and she was relatively sober. She
said she didn't want to have sex and he went ahead anyway. She reslsted but he
continued. He did not use a condom. After he was finished, he apologized a·nd told
                that he knew she didn't want that.

          stated that she was concerned about M·               il's reaction to the events
with Mr. Montague. Last spring she                            in order to stay away from
Mr. Montague, which was a big disruption in her life. According to
            has seemed more stressed and unhappy this fall.                also reported
an event in early November 2015 in which 1                                   were at a
party at the football house.                  told          :hat she noticed Mr.
Montague was also there.               was aware that Mr. Montague had agreed to stay
away from                   and to leave anyplace that they ended up together. She
asked-· ~ ' ·         if she wanted       ·     to ask Mr. Montague to leave. At Ms.
           · request,         j approached Mr. Montague and told him that he needed

to leave the. party because                  was there. Mr. Montague responded that
he was a senior and he was at this party with his friends. He stated that it had been
a year since he had seen.-- - ·          t and if she wanted to talk to bim she could do
so herself.           told Mr. Montague he had to leave because "you raped her." The
altercation ended when                boyfriend intervened. He told Mr. Montague he
should leave. Mr. Montague dld not leave but he did not approach                      .l for
the remainder of the party.

15       lis a close friend and suitemate of·         m. Prior to October 2014,
she knew who Mr. Montague was based on the fact that both were athletes and


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 because they had some mutual friends. _ _                      is not a friend of Mr. Montague.
                  repm;ted that she was :vvith                   . on Saturday, October 18, 2014.
                  had two high school friends visiting her that weekend to attend the Yale
 football game. After the game,                      and her friends were hanging out in the
 suite ,:md                    . joined them sometime in thp evening. At about 10:30 or
  1 l :OO JIITl,                                                ' ·two friends went together to a
 pa rty a t the basl<etba ll house, where Mr. Montague lived. They saw Mr. Montague at
 the party ahd                       wen t to talk with him.          -      and her friends were
 so cializin g with other people. After an hour or more, they decided they were ready
 to leave aud go ~o anothe r p arty at Ze ta Psi fraternity.                    did not want to go
 without                    :, or at least without knowing where                      J was. Ms.
           texted, "Where are you? Come outside. We are going to leave."17 Ms.
                 texted back, "I'm with jack. I'm fine."                 knew that .
 had been with Mr. Montague before. She knew that                               had i1o romantic
 fe elings for him but she was sexually attTatted to him. ·                      was not
 completely comfortable leaving the party without ·                            bu t'
 text was clear and coherent, so                     felt tha t her friend was na t too drunk and
 was making a conscious decis ion to remain at the party with Mr. Montague. Ms.
           left with her high school friends, spent some time at the Ze la p arty and then
 went b ad e to the suite. Wh en                  , got home it was 1:00 or 1:30 ::1m and Ms.
             was nut there.

            and her friends woke up early, at 9:00 or 9:30am, and went out to
 breakfast. I        :n did n ot see Ms.         :1 before she left the suite but she did
 not know if Ms.          n had come back late and was in l1e r room or if she was still
 out.          n came back to the suite without her visi tlng fr iends at around 11:30
 am or noon and founcl                  in the common room crying with some of their
 ot b er s ui ternates.                Nas ve ry upset. She was saying things about her
 n ight w ith Mr. Mo nLt1gue, such as, "I told him I didn't want sex," "I told him no," "He
 was on to p," anci "I could n't pus h hi m off.'' Later that day or the next day, Ms.
              1 to ld           mo re details ab out what had happened. She explained that
 after                and her friends had left the basketball house, and before Ms.
               went with Mr. Montague to his room, she told him specifically that she
 wanted to hook up and talk but she didn't want to have sex, but Mr. Montague didn 't
 listen.                   1lso told             that after having sex, Mr. Montague got
 dressed and went downstairs where some of his friends were gathered. Ms.
                followed hini and did what he told her to do because she felt confused and
 out of control and didn't know what else to do. She went to Toad's with people she
 didn't know. She left Toad's and came back to I                         but didn't want to
 come inside her suite so she called Mr. Montague and went back to his house with
 him. She then returned horne to                          : in the morning. According to Ms .
           this type of passive, confused behavior is not typical for



 17 Neither                nor             provided these text messages. The messages
 are quoted in ·               ; written report (Exhibit D). The two women's
 description of the mes:.;ages is sJmilar and does not conflict with any statement of
 Mr. Montague.

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            also reported that after                 encounter with Mr. Montague on
October 18                1 was highly reactive whenever she saw Mr. Montague on
camnus. She would become irritable and cranky, which was not like her. She quit
··· - --·-              because she did not want to see Mr. Montague
him.                 1as been anxious about going out because she knows that Mr.
Montague could pop up anywhere.                     , friends have been careful to
watch for Mr. Montague and to stay close to 1                 whenever they go places
t:hat he might be. They try to find alternative locations to go out so that they will not
run into him.

In the fall of 201 S, ·               1 told             that she was thinking about how it
bad been nearly a year since her encounter with Mr. Montague and she was having
nightmares again. At around the same time, Title IX Coordinator Angela Gleason
asked to speak with                   about an unrelated incident.               , met with Ms.
Glc<Json on September 21,2015. At the end of their conversation, Ms. Gleason asked
              if she had any questions.                 told Ms. Gleason about what had
happened to'                      and asked Ms. Gleason what to do to help her friend. Ms.
        told Ms. Gleason Mr. Montague's name but not.                            Ms. Gleason
ttrged                to talkwitll her friend <Jbout coming forward and reporting the
incident.                 waited a few weeks to talk with:                   because she
wasn't sure what                         reaction would be, but she did talk with Ms.
           , on October 15.                     was nervous about talking to Ms. Gleason
and asked                 1 to reach out again and ask some questions for her before she
decided whether to meet with Ms. Gleason. On October 16,                         met again
with Ms. Gleason to discuss the situation involving                       , but~           still
did not reveal her name. Ms. Gleason suggested various options that·
could offer her friend, including the idea of making an anonymous complaint. This
could result in a conversation between Ms. Gleason and Mr. Montague and a referral
of Mr. Montague to training, to help him avoid repeating his behavior with anyone
else.                told                 1 about her conversation with Ms. Gleason and Ms .

           . liked the idea of having Mr. Montague referred to training.
 then went to talk wllh Ms. Gleason.

            , i~ a good friend of r      __ __... She graduated from Yale in the spring
of2015. l\           :isthcpersonwhorecruited-- - --               ttothe                 _
      · and also to the Pi Phi sorority.              knows who Mr. Montague is but is
not a friend of his. Sbe knew                    . had several sexual encounters with Mr.
Montague but               never saw them together.                vVas at the Pi Phi-
sponsored event at Toad's Place on Septembet• 24, 2014·.                    reported that she
carne to the event with                    ilnd they took pictures together at the
beginning of the party but            ; had no specific memories of                    ,1 at the
event later in t.he evening.            did not see how much alcohol
drank or how her behavior may have been affected by alcohol. She did not see Ms.
          t with Mr. Montague.


         was with 1               on the night of October 18,2014. They went
together.to a birthday party for two friends, which took place at Sig Nu fraternity. It
was not a big party and there was not a lot of alcohol served there.          , and Ms.



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            stayed at this party for about an hour or an hour and a half. After they left,
            went home and                  :went out with other friends.           :did not
 attend the party at Mr. Montague's house that night and did not see
 after they left Sig Nu. The ilext day,            texted               to ask how the
 rest of her night hp.d been.                  told her over text message that the night
 was terrible. She had told Mr. Montague she did not want to have sex but he went
 ahead anyway. She was not able to ptish him away. Afterwards he apologized and
 said he knew she had not wanted that.                     said she had been feeli11g so
 upset she was physically ill all morning (Exhibit F).             tried to be supportive
 of her friend. Later,                  decided that she could not continue
                       oec;:J.Use she did not want to                  Mr. Montague
 (Exhibit F).1 8

                   is a close friend of Mr. Montague. He graduated from Yale College in
 2015. Last year he~ was the Captain of the basketball team and a housemate of Mr.
 Montague.                 was preseqt at the basketball house on both occasions when
                t attended parties there and stayed overnight with Mr. Montague. Mr.
         ·stated that Mr. Montague had several encounters with                 . in the
 fall of 2014, ;md !te believed she stayed overnight at their house somewhere
 between two and five times.                 knew that Mr. Montague was having a sexual
 relationship witlt                  but he did not personally observe much of their
 interaCtion. What interactions he did see seemed positive.

            described the basketball house as an active house that hosted a lot of
 large parties. When they hosted parties, the house was usually crowded and loud.
 They served a lot of alcoholic beverages. ·          had no specific memqries of Mr.
 Montague and                  at the party on October 18, 2014. He did nol see how
 they were touching or interacting and he had no personal knowledge of bow Ms.
            came to stay overnight or the nature of her sexual contact with Mr.
 MontagLlC.

            reported that a few days or a week after October 18, Mr. Mont£lgue came
 to him up.~et because something bad W<Js going on with                 She had
 texted Mr. Montague and asked to meet for a conversation. Her tone was serious
 and different than she had been before. Mr. Montague was worried that she was
 upset with him <1bout something and he did11't know what il: was. Mr. Montague
 worr ied that perhaps she thought she was pregnanL Mr. Montague arranged to
 meet                to discuss what was on her mind, and aftet·wan.ls he came Lo Mr.
        again and told him that               had said she had not wanted to have
 sex that night and was disappointed that it had happened. Mr. Montague was
 shocked that she felt that way because it had been his impression that she was
 having a good time and wanted to do everything chat they did sexually.

 Early in November of 2015, Mr. Montague called                   m the phone to tell him
 about another shocking allegation concerning                   .. This time Mr.


 to In a text message to                                     dated January 8, 2015, Ms.
                                                               - (Exhibit G).


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Montague reported that he had been at a party and a girl he did not know came up
to him and told him he had to leave right away because         vas there, The girl
yelled at him and said that he had raped                 Mr. Montague was
completely taken aback because he had done no such thing, Moreover, Mr.
Montague dic1 not think                herself, had accused him of raping her when
they had met the previous fall and so he could not understand how this unknown
girl could make such an accusation in a public place. A few days later, Mr. Montague
received notice that a complaint had been filed with the UWC. Mr. Montague has
been very upset about the accusation, which he believes is untrue and unfair, and
potentially extremely harmful to him.

Llllf'l!la (; 10iiSILfl is the Title IX Coordinator for Yale College. She first heard about the
events involved i11 the current complaint when she met with'                          ·;friend
                   in connection with a completely unrelated incident.                 told her
about                        but did not reveal                , name. Ms. Gleason
encouraged                      to suggest that·              come forward to talk with Ms.
Gleason.

On October 19, 2014,                   met with Ms. Gleason. ·                  told Ms.
Gleason that she told Mr. Montague she did not want to have intercourse but he
continued an)'\AJay.               . focused mainly on how she felt afterward. She
l:old Ms. Gleason that on the night of this incident, after having nonconsensual sex·
with her, Mr. Montague had tried to manipulate her to make her feel differently by
telling her how wonderful she was.                   . told Ms. Gleason that she had
been seeing Mr. Montague around campus more this fall than last spring and that
wss difficult for her. Ms. Gleason listened to determine what'                    , wanted
from her and thought that it might be possible to arrange a no contact agreement
without any formal complaint. Ms. Gleason told                      that it is important
for Mr. Mont<Jgue to understand the University's consent policy and one option
would be for Ms. Gleason to sit down with him, tell him there has been a complaint
again.; t him and suggest that he participate in training to trtake sme he does
understand that policy. She told                 1 that she would have to check to see if

Mr. Montague was known to the Title IX Coordinators and would consultw"ith other
Coordinators in order to determine if it would be appropriate to address this
 incident with additional training. She also agreed to report back to
about the results of any conversation with Mr. Montague.

After consultation with other Title IX Coordinators, Ms. Gleason found out that Mr.
           h8d already participated in a full semester of sensitivity training and so it
did not make sense to ask him to repeat that intervention. She met with Ms.
          again on November 10, 2015, and informed her that Mr. Montague was
aware of the University's policy on consent Ms. Gleason told                   that the
incident she had reported was serious and could warrant a formal complaint. A
Ttt1e IX Coordinator could bring the complaint if                was willing Lo
participate 8s a witness.               agreed to cooperate on this basis.




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This case concerns a single episode of sexual intercourse that occurred after two or
three prior casual sexual encounters between_                      and Mr. Montague. Ms.
1         1 claims that the incident in question took place over her express verbal
objection and physical resistance. Mr. IV!ontague claims that she consented to all of
sexual activity that took pl<,J.ce that night. The parties' descriptions of the events
differ significantly.                  reports at least three specific times that she told
Mr. Monlague that she did not want to "have sex," which he denies. She also reports
that he apologized after having intercourse and said he knew she didn't want that;
he also denies this sttJtement.                   reports many ad ditional details about
the night that M1·. Montague does not remember but does not deny, including th at
they bot)! left Mr. Montague's house after the·i r sexual e11cotLnter, went to other
plnces and then retumed to Mr. Montague's house for the remainder of the nighL

There are no direct witnesses to the sexual encounter between the parties on
October 18-19, 2014. The central events occurred when the parties were a1one
outside Mr. Montague's house, in Mr. Montague's car and in his bedroom. No one
else heard ·               , tell Mr. Montague that she wanted to "hook up" but not
"have sex."                   ·;friends' tesbmony does corroborate her statements in
that all five friends I interviewed report th.al in the day or two after October 18, Ms.
            told them that she hac! told Mr. Montague she did notwantsexbuthe
continued over her objection. Their testlmony is consistent with her statements
that she told hJm "no" many times, she tried to push him away physically and that he
r1pologized afterwards. Tht: text thread with             ; (Exhibit FJ appears a be a
conternpora neous written record     or                  experience. [n text me<· sages
beginning a t 11:55 r~m on October 19,2014, r                   repeat~ the. same story
she told other friends orally.                   written narrative (Exh ib i.t LJj is also
consistent with her current statement, however the document is undated and
cannot definitively be taken as a contemporaneous record.19

Both parties used the term "have sex" to describe h<1vlng vr1ginal intercourse. Mr.
Montague does not claim that he was confused by                     use of the terms
"hook up" in distinction to "have sex." Rather, he denies that she made any such
stipulations aboul the activity she was consenting to. According to him, when she
consented to intercourse on September 24 and October 18, 2014, she did so in
response to his question whether she wanted to "have sex."

The parties also dispute tl e content ancl meaning of their discussion outside
Davenport College on October 28, 2014. Accord'ing to                  , she told Mr.
Montague clearly tlJat she had not wanted sexual intercourse on October 28 and he
had ignored her. According to Mr. Montague she said only that she had not wante'd
to have sex and was disappointed in what happened, which he interpreted as a
statement of her regret and not an accusation ofwrongdoing. Mr. Montague's
position is thaL               consented to intercourse on October 18 and that her


19   As noted above, [was not able to reach           to corroborate her advice to Ms.
            that she should make a written record of the events.


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behavior afterwards is inconsistent with her claim that she objected. He suggests
that tl1is panel should consider               return to Mr. Montague1s house as
evidence that she was not unhappy with what had happened earlier in the night

It i~ for this panel to determine which party's verston of the events of October 18·19,
2014 is more likely to be true.


Respectfully submitted,




Miriam Berkman, JD, LCSW
Impartial Fact-Finder




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              Exhibit A: Complaint ofJason Killheffer, Senior Deputy Title IX
                         Coordinator, On behalf of




 November 181 2015

 Professor David Post
 Chair, University-Wide Committee on Sexual Misconduct
 55 Whitney Aven ue1 2"d Floor
 New Haven/ CT 06520



 Dear Professor Post 1

 In my capacity as Senior Deputy Title IX Coordinator for Yale University, i am wrftfng to
 file a formal complaint of sexual assault against Jack Montague (Yale ·co/lege 1 Trumbull
 2016). This complaint is based on a report I received that Mr. Montague sexually
 penetrated                                                  without her consent on the
 night of Saturday1 October 18 1 2014 1 at his residence located at 43 Howe Street.

 I am bringing this complaint pursuant to Section 1 of the University-Wide Committee on
 Sexual Misconduct (UWC) procedures that allows a Title IX Coordinator to bring forward
 a complaint ''when there is evidence that the University's policies on sexual misconduct
 have been violated and the Coordinator's intervention is needed to ensure that the
 matter reaches the UWC."



 Sincerely yours/

 Jason l<illheffer
 Sr. Deputy Title IX Coordinator
 Office of the Provost




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                                                   Exhibit B: Notice of Complaint


                                                             CONFIDENTIAL


November 30, 2015




Jack Montagw~ (TC '16)
cj o }llmlru! Besirevic-Regan, Dean of Trumbull College
lilli.!n 111 ,...,l.tl:ili.! :.'li!.:.f!.~ )'il~         ·


Dear Jack Montague,

The University-Wide Committee on $(>.xual Misconduct ("UWC") h~s received. a formal
complalnt against ,you from Senior Deputy Title IX Coordinator Jason Killheffer. The
cornpJaln L, dated November 18, 20i5, alleges that you sexually assaulted a Yale College
student on ~he night of Saturday, October 18, 2014, at your residence located at 43 Howe
Street. For Curthcr information regarding th e allegation, please see attached the complaint
A copy of the University's sexual misconduct policy is also attached here for reference.

Please note that the UWC in reviewing the facts presented during the formal complaint
process may consider olher violations of the sexual misconduct policy or the Y.ilk.Gn~
!l.w.UJ:J• I'i!d u ;J t ~l~tJ I ;~ I h11Js that relate to the complaint.

Please read c<J.refully the attached UWC Procedures which set forth the details of UWC
proceedings. I refl.!r you in particu lar to section 7 of Lhe procedures, governing the "Formal
Complaint Process.'' As dL~cussed in section '/.1 of the procedures, a subcommittee of the
UVVC hcts tleLermined that the UWC has jurisdiction to hear this complaint.

You may provide a written i·esponse to the complaint and you may include suppm-ting
documents and other evldenc.:c. If you wish to respond, please do so in vvriting or by e-mail
to me within five clays of this notice, i.e. by 5:00p.m. on December 5, 2015 . All statements
and other evide nce you sulJrn it wiU be shared with Jason Killheffer and the Yale College
scudent referenced in the complaint. I will inform you by e-mail when a fact-finder and
hearing panel have been appointed in this matter.

There must be no contact- either direct or indirect- between you and the student
referenced in the complaint and the UWC procedures specifically prohibit retaliation
against a ny p erson whcl briugs a compla int or participates in the UWC process. Angela
Gleason, the Title IX Coordinator for Yale Co11ege, may be in touch with YOl1 aboullhe
lmrlement-ation of the n o contact order and any other Interim measures. Ifit is fou~nd that
you havr. not cnmpl'led with this requirement, that findlng may lead lo atldilional charges of
misconduct.

All UWC hearing participants are expected to keep confidential all aspects of the UWC
process as provided in the attached Statement on Confidentiality ofUWC Proceedings.
Please read carefully the statement.




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T encourage you Co choose an advise!' to support you throughout this process. The adviser
may provide personnl ana moral support and help yo u pTepare for meetings related to the
complaint. The adviser is not permitted to st1bmit docwnents, either directly or ind irectly,
on your behalf at any stage of the process, nor speak for you dut1ng an
Interview with the fact-finder or at the hearing. When selecting an adviser, please maJ<e
sme they are available to you dtlrlng lhe time periods set forth In section 7.8 of the UWC
procedures. r ask that you provide me with your adviser's name and contact infonnation
before you meet with the fact-finder. If you are intending to brlng an attol'ney as your
adviser, pl eas<~ inform me at least four days in advance of any meeting tha the advlscr will
attend. for further lnformaLion about the role of an adviser in UWC proceedings, please see
section 5 of the UWC procedures. Should you need assistance in retaining an adviser, please
let me know.

Please contact me, at ;'ll!;y~c:nt ' ' ' tioynil' .l 'dU, or at (203) 432~4441, to arrange a time to meet
to review the UWC hearing process.

Sincerely,

   o/fo.     /C: ~~w ~·
Aley I<. Menon
Secretmy, University-Wide Committee on Sexual Misconduct


cc:      Jasmina Besirevic-Regan
         Dean of Trumbull College

         Angela Gleason
         Title IX Coordinator for Yale College

         Jonathan Holloway
         Dean ofYale College

         David Post
         Pt·ofessor of Ecology and Evolutionary Biology and UWC Chalr

         Stephanie Spangler
         Deputy P1·ovost and University Title IX Coordinator

         uwc rile
 Encl:   Complaint
         UWC Procedures                                    .
         Yale Sexual Misconduct Policies and Related Definitions
 Statement on Confidentiality of UWC Proceeding




                                                                                                      22
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                                       Exhibit C: Response of Jack Montague




       SubJ~t: Re.spon~ to UWC Complain I
       Dato:         W~dncsday, Oc<emb<!r 9, 201$ ~15 :39:35 PM Ea~tc.tn Sund~rd Time
       Fro·m.: Ja,k Montague
       !o:     Menon, Allc.c
       I do rrt l~t All ct•don>. All lnUm~le ln(¢r'>CIIon l bci"M:r<l'                   ri and !l'l< lh7\ <>e<vu cd n10:o th•n~ Y,:fl >&o ~
       C4ruOMI'"U lr11 Sot ry II Sh~ dOC$ r'<Ql fcol I ~<' ~rnr "-"ay. '-l)•l•lt<,n1i<ll'> WM• no ito oh.respo<t 0< turm hedn >ny WI'('.


       Sine <rely.
       13(~ MC>f\l~tue




                                                                                                                                               ~lof1




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             Exhibit D: Written Description of Events by




                             -      .   --   _, ___   ., __ _______                  . --



                                    - - - - - -- --
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                                                                                             I




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                                                                                                                I




    ___o::.~-d                   cY:<: l:n~..-.)         ;r-·· J       ~r ·,i Y.YJ      nb':)   i..l.. ,,   n       ;J


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                               _ __,_Tw.r,_r., jJ~J.~-­
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Case 3:16-cv-00885-AVC Document 104-2 Filed 06/22/17 Page 26 of 39




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Exhibit E: Text Messages Between                    ~                  Jn and Jack Montague


   •••oo AT&T 9                                   3!26 PM                 @ ..,   *
                                                                                  92% iM}l

   <Messages                                       Jack                           Details

                                          Oct 19, 2014, '1:30 .AI\.1




                                         Oct 26, 2014, 11:18 AM




                                          Oct 26, 2014, 4:30 PM


       Sorry 1111 headjng bac.k frorn
                   1



       being out of town:~~rP,I ~-aye
       practice tonight I ¢an't today




       I'm ~ettin6:.ba·c~· ~ao' ~·: .b.Lij ·.
       head in to the gym for 7-10
       practice. We can meet up this
       week sometime




             1 : ·.\ ' \::   ~ • :, . ; -:'! ••




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  •••oo AT&T   9            3:26PM

  (Messages                 Jack                  Details
             -------------·--·---~--




     Ok sounds good

                     Oct 28, 2014, 5:30PM




                     Oct 28, 2014, 7:3'1. PM


     Just got out of practice. Going
     to eat1 what's your plans in like
     an hour or so?




     Ok I'll hit you up in a little bit

     You're kind of worrying me
     about thi·s, is it something re.qlly
      bad?




                                                                30
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 •••oo AT&T-:;;--              3:27PM             @   -1   *
                                                           92%

  (Messages                     Jack                       Details
       bad?




                         Oct 28, 2014, 9 :21 PM

       What you doin




       I'm go ing to a concert at. toads
       at like 11. Can I C'~me see you
       somewhere before that




           Can you meet me at davenport




           Give me five minutes

           Ten minutes
   •..s·




                                                                     31
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  ••• oo AT&T   9          3:27PM ·        ®- '1   *9.2%

  <Messages                Jack                     Details


     Ten minutes




      I'm in Dport. Right next to
      Maison Mathis. Can you meet
      me real quick




      Okay

     There's a picnic table right
     inside just meet me there




                                                   Delivered

      Right inside the Dport entrance
      next to Maison Mathis




                                                                32
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Exhibit F: Text Messages Between
        •••oo AT&T LTE             12:02 PM
                                              .1   and
                                                         ® -'1   *
                                                                 76% CJ

        (Messages                                                Details
                            Oct 19, 2014, 11:55 AM


           Omg haha

           I woke up very briefly 'earlier and
           then went back to sleep until
           now becaus~ I felt so bad. My
           body    neeq~d     more. time to
           process     til¢ ·al~oh.ol t)#ha
           H.ow was _
                    ypur' .night?.:-
                                    I   -




           Noo h~w come? {~)




                  ,,




                                                                           33
Case 3:16-cv-00885-AVC Document 104-2 Filed 06/22/17 Page 34 of 39



 •••oo AT&T   9          3:14PM          ®- -1   *
                                                 92%

 <Messages                        ~ &$           Details

    How was your night?




    Noo how cotne? .c:.::




                                                              34
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     •••oo AT&T~                     3:14PM

     (Messages                                      Details




        What! So he knew you didn't
        want to but made you have s~x
        with him anyway?·Tha.t'~ so not
        okay.

        SiGk like t:hrowing up or just sick
        becaus·e that was such a shitty
        situation?
                      -
        I'm sorry .\:.:. ··




        He fucking        suck.~. ·:_;~.~:




                                                                35
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     •••oo AT&T   9           3:18PM            @   -1   *
                                                         :92%

     <Messages                                           Details


                        Men, Dec 29, 11:33 PM


         Also you're officially coming
         back · . - ··- _. ____ _, we're back
         at school right?? ~~ ;~~~~, !~:~




                                                                   36
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      ••oo AT&T 9                3:19PM                     ® -1   *  ~2%

     (Messages                                   ~ ~~              Details
                           -------"--·- -                   -·-·---    --
        Th~t totallymakes Sehse . It
        wc)uld be a sucky hou.r· having to


        How about; . ..     _:~: __ .;:./   --- --· -·· _
         _      -- :vou totally don't have
        to but 1 m. j~st insi.sting with love
                 1


        because I miss \iou! .11             )




         lol) so t hink about it! Let me
         know what you decide :~) ·

                         Tt1u, Jan B, 10 :25 AM




                             I

         Uh o.h wh.at did y.ow reply?
                                                     ------        -·--      -


                                                                                 37
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 Exhibit G: Text Messages Between                                         and

    ... oo    AT&T~                            3:19PM

    ( Messages (1)                                                                  Details
  · ··   --··~a   rt:·-y-o o -c::!re ·-:s·t:r rrpa rror1.Tit: ..- - --· .... ______ - .. ·---------
           group

            me. If not, I'll add you back in




                                        Fri, Jan 9, 12:16 AM


           Oh no! Okay please let me know
           if there is anything you heed. I'm
           always here to help. I hope this
           issue can be resolved so you
           can                  _... I

           do have ,                     . , . _- though so
           who would you like new to give
           thatto?                                                    ·
         "t.'! .                                                                     :Send


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 Exhibit H: Record of Security Card Activity for                          October 19,201420




 READER_DESC                                                               ACCESSED
 186-3-1-1           liNING HALL CTYD ENTRY DOOR PERIM
 292-1-0-P DAVENPORT COLLEGE HCP GATE OFF YORK ST PERIM                    Yes
 187-4-0-P •        .::OLLEGE HCP GATE LIBR WALK NR YORK PERIM             Yes
 187-2-1-P l        COLLEGE CTYD ENTRY N PERIM

 SW\PE_DATETIME              EMPLOYEE    FIRST_NAME   LAST.. NAME   BID
             10/19/14 1:34      853205                              25412169
             10/19/14 1:40      853205                              25412169
             10/19/14 9:57      853205                              25412169
             10/19/14 9:58      853205                              25412169




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 zo The grid helow was obtained from George Hines, Director of Yale Security
 Systems. The excel worksheet format is reproduced in two pieces in order to fit on
 this page. The lower half of the grid is meant to fit to the right of the upper half.


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